

Palmer v GoGo Furniture (2025 NY Slip Op 50560(U))



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Palmer v GoGo Furniture


2025 NY Slip Op 50560(U)


Decided on April 21, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 21, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570121/25

Tyisha C. Palmer, Plaintiff-Appellant,
againstGoGo Furniture, Defendant-Respondent.




Plaintiff appeals from a judgment of the Small Claims Part of the Civil Court of the City of New York, New York County (Erik L. Gray, J.), entered March 7, 2023, after inquest, in favor of defendant dismissing the action.




Per Curiam.
Judgment (Erik L. Gray, J.), entered March 7, 2023, reversed, without costs, and matter remanded for a new inquest.
The trial court properly resolved the liability aspect of plaintiff's defective furniture claim in her favor, but dismissed the action for failure to prove actual damages sustained (see CCA 1804; Paulson v Kotsilimbas, 124 AD2d 513, 514 [1986]). Although the trial court was correct in finding that it could not ascertain the value of the defective bed because the purchase receipt submitted by the pro se plaintiff only listed the total price of the bedroom set and did not separately itemize the cost of the bed, the ends of "substantial justice" (CAA 1807) would be better served by affording the plaintiff a final opportunity to demonstrate the value of the bed (see Gamboa v 245 PAS Prop. LLC, 42 Misc 3d 130[A], 2013 NY Slip Op 52214[U] [App Term, 1st Dept 2013]; Correa v Midtown Moving, 4 Misc 3d 135[A], 2004 NY Slip Op 50798[U][App Term, 1st Dept 2004]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 21, 2025









